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 1                                                      THE HONORABLE ROBERT S. LASNIK
 2                                                 THE HONORABLE MICHELLE L. PETERSON

 3

 4

 5

 6
                                UNITED STATES DISTRICT COURT
 7                             WESTERN DISTRICT OF WASHINGTON
                                         AT SEATTLE
 8

 9   VICKY CORNELL, individually, and in           No. 2:20-cv-01218-RSL-MLP
     her capacity as the Personal Representative
10   of the Estate of Christopher John Cornell     MOTION TO DISMISS SECOND
     a/k/a Chris Cornell,
11                                                 AMENDED COUNTERCLAIMS
                              Plaintiffs,
12                                                 NOTED ON MOTION CALENDAR:
            v.                                     MAY 28, 2021
13
     SOUNDGARDEN, a purported Washing-
14   ton General Partnership, KIM A. THAYIL,       ORAL ARGUMENT REQUESTED
     MATT D. CAMERON, HUNTER
15   BENEDICT SHEPHERD, RIT VENERUS
     and CAL FINANCIAL GROUP, INC.,
16
                              Defendants.
17

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      MOTION TO DISMISS SECOND AMENDED COUNTERCLAIMS                     Perkins Coie LLP
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 1            Pursuant to Federal Rule of Civil Procedure 12(b)(6), Plaintiffs seek dismissal of certain
 2   counterclaims asserted by Soundgarden and Soundgarden Recordings, LLC (“SGR”) in their op-
 3   erative Second Amended Counterclaim (the “SACC”). (Dkt. 166). Specifically, Plaintiffs move to
 4   dismiss Counts VIII and IX in their entirety, and Counts II, III, IV, V, and VII to the extent that
 5   SGR seeks relief from the Estate of Christopher John Cornell (the “Estate”).
 6                                                 INTRODUCTION
 7            The majority of the counterclaims asserted by Soundgarden and SGR in the SACC are
 8   either procedurally defective because they are time-barred or fatally deficient in their alleged fac-
 9   tual substance and should therefore be dismissed.
10            First, SGR cannot bring counterclaims against the Estate, because any such claims expired
11   under Florida’s Probate Code two years after Chris Cornell died on May 18, 2017. 1 If SGR had
12   any claims against the Estate, it had to file a Statement of Claim in the Florida probate action
13   nearly two years ago, by May 17, 2019. SGR failed to timely pursue its purported claims, however,
14   and therefore cannot now attempt to resuscitate those claims by masquerading as a “counter-plain-
15   tiff” in this case. The Court should reject this plainly inappropriate effort. 2
16            Second, the breach of contract and tortious interference claims asserted by both SGR and
17   Soundgarden (Counts VIII and IX) are not only time-barred as to SGR but also belied by the very
18   facts alleged in the SACC, including the terms of the agreements attached to the SACC, and thus
19   fail to state a cognizable claim for relief against any party. Specifically:
20            •   SGR cannot hold Chris Cornell’s Estate liable for breaching a contract between
21                SGR and Universal to which Chris Cornell himself was not a party;
22

23

24
     1
      The only arguably sustainable claim filed by SGR against the Estate is its first counterclaim concerning the parties’
     pending buyout dispute. Although Plaintiffs believe that claim should have more properly been brought in the separate
25   buyout action between the parties (wherein SGR was actually named as a Defendant), Plaintiffs are not seeking dis-
     missal of that claim given that the two actions were recently consolidated for pre-trial purposes.
26   2
       Notably, SGR improperly refers to itself as a “Counter-Plaintiff”—even though Plaintiffs have never asserted any
     claims against SGR in this action and there was thus nothing for SGR to “counter.”
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 1          •   Even assuming Chris Cornell was a party to the alleged Universal contract, his
 2              obligations would nonetheless have terminated upon his death;
 3          •   SGR has not—and cannot—allege a breach of the “letter of inducement,” which
 4              merely refers to a condition precedent which has not occurred;
 5          •   Soundgarden has failed to point to any provision in its contract with Live Nation
 6              that was somehow breached by the Estate’s refusal to authorize new, post-mor-
 7              tem uses of Chris’ name and likeness; and
 8          •   Based only on conclusory and unsubstantiated allegations of “improper means”
 9              and “improper purpose,” Ms. Cornell cannot be held personally liable for pur-
10              portedly interfering in contracts in which she undisputedly has an economic
11              interest.
12          Accordingly, for all the reasons set forth in detail herein, the Court should dismiss Counts
13   VIII and IX in their entirety as well as Counts II, III, IV, V and VII to the extent those claims are
14   asserted by SGR against the Estate.
15                                             BACKGROUND
16
     A.     Soundgarden and SGR Fail to File Statements of Claim in Probate Court.
17
            Chris, the former lead singer of the band Soundgarden, tragically passed away on May 18,
18
     2017, while on tour his bandmates Kim Thayil, Matt Cameron, and Hunter Benedict Shepherd
19
     (collectively, the “Surviving Soundgarden Members”). (See SACC ¶¶ 44-45). On January 19,
20
     2018, Ms. Cornell filed a Petition for Administration of the Estate in Florida (the “Probate Ac-
21
     tion”). (Id. ¶ 110). By their own admission, neither Soundgarden nor SGR has filed a Statement of
22
     Claim in the Probate Action. (See id.).
23
     B.     SGR Is Not Named as a Defendant in this Action.
24
            Plaintiffs initiated this action on December 9, 2019 by filing the Complaint against the
25
     Surviving Soundgarden Members and Soundgarden (collectively, the “Soundgarden Defendants”),
26

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 1   and against defendants Rit Venerus and Cal Financial Group, Inc. (See Dkt. No. 1). Plaintiffs did
 2   not name SGR as a defendant in the Complaint. Nor did Plaintiffs name SGR as a defendant in
 3   their First or Second Amended Complaints. (See Dkt. Nos. 73 & 138). Plaintiffs therefore have no
 4   affirmative claims for relief pending against SGR in this action.
 5
     C.          SGR’s Belated Attempt to Join this Action as an Improper “Counter-Plaintiff.”
 6
                 On April 16, 2021, Soundgarden and SGR filed their SACC against Plaintiffs. (See Dkt.
 7
     No. 166). 3 In the SACC, SGR misleadingly labels itself a “counter-plaintiff” (see id. at ¶ 2), even
 8
     though Plaintiffs neither named SGR as a defendant here nor alleged any causes of action against
 9
     SGR. Neither Soundgarden nor SGR sought the Court’s permission before filing the SACC, even
10
     though the deadline to join parties passed on December 14, 2020. (See Dkt. No. 127). Soundgarden
11
     has not identified any good cause, as required under Rule 16, for the belated addition of a new
12
     party to this case.
13
                 At issue in this motion are the following claims for relief asserted in the SACC on behalf
14
     of Soundgarden and/or SGR against Ms. Cornell and/or the Estate:
15
          Count             Cause of Action                   Party Seeking                 Party from Whom
16
                                                                  Relief                     Relief is Sought
17          II        Declaratory Relief –                Soundgarden & SGR                Ms. Cornell & Estate
                      Ownership of Album Files
18
           III        Declaratory Relief –                Soundgarden, SGR, &              Ms. Cornell & Estate
19                    Copyright Ownership &               Surviving Soundgarden
                      Express/Implied License             Members
20
           IV         Declaratory Relief – Name           Soundgarden & SGR                Ms. Cornell & Estate
21                    & Likeness Rights

22          V         Conversion of Album Files           Soundgarden & SGR                Ms. Cornell & Estate
           VII        Unjust Enrichment                   Soundgarden & SGR                Ms. Cornell & Estate
23

24

25
     3
      SGR originally filed an Answer and Counterclaims on May 6, 2020 (Dkt. No. 68), which Plaintiffs timely moved to
     dismiss (Dkt. No. 74). Plaintiffs’ motion to dismiss SGR’s Counterclaims was fully briefed and pending when this
26   action was transferred from Florida to this District. (Dkt. Nos. 74, 84, 87; see also Dkt. No. 124 at 4). Because SGR
     subsequently filed the SACC (Dkt. No. 166), the prior motion to dismiss and related briefing are moot.

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 1        VIII      Breach of Contract              Soundgarden & SGR             Estate
 2        IX        Tortious Interference           Soundgarden & SGR             Ms. Cornell
 3             Plaintiffs seek to dismiss Counts VIII, and IX in their entirety, and Counts II, III, IV, V,
 4   and VII to the extent that SGR is seeking relief from the Estate.
 5
                                                 ARGUMENT
 6
     A.        Legal Standard on Motion to Dismiss
 7
               A motion to dismiss under Rule 12(b)(6) tests whether a pleading “state[s] a claim upon
 8
     which relief can be granted.” Fed. R. Civ. P. 12(b)(6). “To survive a motion to dismiss, a [pleading]
 9
     must contain sufficient factual matter, accepted as true, to ‘state a claim to relief that is plausible
10
     on its face.’” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (quoting Bell Atl. Corp. v. Twombly, 550
11
     U.S. 544, 570 (2007)). “A pleading that offers only ‘labels and conclusions or a formulaic recita-
12
     tion of the elements of a cause of action’ will not survive a motion to dismiss under [Rule]
13
     12(b)(6).” Lake v. MTC Fin., Inc., No. C16-1482-JLR, 2017 WL 3129624, at *3 (W.D. Wash. July
14
     24, 2017) (quoting id. at 678); see nexTUNE, Inc. v. McKinney, No. C12-1974-TSZ, 2013 WL
15
     2403243, at *4 (W.D. Wash. May 31, 2013) (“[S]peculation unsupported by any factual allegation
16
     is insufficient to survive a motion to dismiss under FRCP 12(b)(6).” (citing In re Gilead Scis. Sec.
17
     Litig., 536 F.3d 1049, 1055 (9th Cir. 2008))). A district court may also grant a motion to dismiss
18
     a complaint based on an affirmative defense when the “defense is obvious on the face of a com-
19
     plaint.” Rivera v. Peri & Sons Farms, Inc., 735 F.3d 892, 902 (9th Cir. 2013).
20
     B.        All of SGR’s Counterclaims Against the Estate Are Time-Barred.
21
               Under the Florida Probate Code, all claims against a decedent’s estate must be filed within
22
     two years of death. See Fla. Stat. § 733.710(1) (“Notwithstanding any other provision of the code,
23
     2 years after the death of a person, neither the decedent’s estate, the personal representative, if any,
24
     nor the beneficiaries shall be liable for any claim or cause of action against the decedent[.]”). As
25
     explained by the Florida Supreme Court, Section 733.710 “obviously represents a decision by the
26
     legislature that 2 years from the date of death is the outside time limit to which a decedent’s estate

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 1   in Florida should be exposed by claims on the decedent’s assets.” May v. Ill. Nat. Ins. Co., 771 So.
 2   2d 1143, 1157 (Fla. 2000) (citation omitted). This two-year limitation period “is a jurisdictional
 3   statute of nonclaim that automatically bars untimely claims and is not subject to waiver or exten-
 4   sion in the probate proceedings.” Id. For example, Section 733.710’s “absolute” two-year bar is
 5   not subject to extension on the grounds of fraud, estoppel, or insufficient notice. Id. at 1156-57.
 6            Here, SGR’s claims are time-barred. Because Chris passed away on May 18, 2017, (SACC
 7   ¶ 45), the deadline for Soundgarden and SGR to file any claims against the Estate was May 17,
 8   2019 (see Fla. Stat. § 733.710(1)). That deadline expired nearly a year before Soundgarden and
 9   SGR originally filed their Counterclaims on May 6, 2020. See supra, note 3.
10            While a statutory exception in the Florida Probate Code permits Soundgarden to file an
11   otherwise untimely counterclaim for set-off against the Estate (as Soundgarden was affirmatively
12   sued by Plaintiffs in this action), 4 that exception is not applicable to SGR (as Plaintiffs did not sue
13   SGR in this action). SGR therefore cannot affirmatively assert untimely claims against the Estate
14   by interjecting itself into this action under the guise of being a “counter-plaintiff.” And even if
15   SGR were permitted to belatedly join this case, it could not possibly obtain a set-off from the
16   Estate, because the Estate has no pending claims for relief against SGR in this case. To the extent
17   SGR wished to pursue claims against the Estate, it had two years to file a Statement of Claim in
18   the Probate Action. Because it failed to timely pursue any purported claims in the Probate Action,
19   SGR is now time-barred from seeking any relief from the Estate in this action.
20            In tacit recognition that SGR’s claims against the Estate are indeed time-barred, the SACC
21   asserts in conclusory fashion that “any applicable time period for filing a legal claim” was tolled
22   by “the delayed discovery rule, the fraudulent concealment rule, the equitable estoppel rule, or any
23   other equitable rule or principle that would apply[.]” (SACC ¶ 112). 5 But Section 733.710’s two-
24   4
      See Fla. Stat. § 733.702(4)(c) (authorizing “[t]he filing of a ... counterclaim against the estate in an action instituted
25   by the estate; however, no recovery on a ... counterclaim shall exceed the estate’s recovery in that action”).
     5
       It is unclear how the Estate could possibly have concealed Chris’ death or fraudulently induced SGR into delaying
26   the filing of its claims in this action, given that the Soundgarden Defendants were on tour with Chris when he died,
     the Probate Action was the subject of extensive media coverage, and SGR’s current counsel represented Chris’ ex-
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 1   year bar is not subject to extension on equitable grounds. See Grijalva v. Gulf Bank, No. 09-cv-
 2   22375, 2011 WL 282754, at *3 (S.D. Fla. Jan. 25, 2011) (rejecting plaintiff’s argument that “eq-
 3   uitable principles” could preclude application of Section 733.710 and dismissing untimely claim
 4   with prejudice); In re Est. of Fleming, 786 So. 2d 660, 661 (Fla. 4th DCA 2001) (holding that
 5   claim was barred despite allegation that personal representative of estate fraudulently induced
 6   claimant into delaying her filing of claim).
 7            Accordingly, Counts II-IV (declaratory relief), V (conversion), VII (unjust enrichment),
 8   and VIII (breach of contract) must be dismissed to the extent that SGR seeks relief from the Estate.
 9
     C.       The Eighth Counterclaim for Breach of Contract Also Fails As a Matter of Law.
10
              In addition to being time-barred as to SGR, the SACC’s Eighth Cause of Action for breach
11
     of contract also fails as a matter of law as to both SGR and Soundgarden for various reasons.
12
              1.       Chris Cornell Was Not a Party to the Agreement Between Universal and
13
                       SGR.
14            It is well settled that “[a] breach of contract claim cannot survive without a contract be-
15   tween the parties.” Lowden v. T-Mobile USA, Inc., No. C05-1482-MJP, 2009 WL 537787, at *1
16   (W.D. Wash. Feb. 18, 2009) (emphasis added) (applying Washington law and dismissing breach
17   of contract claim because the plaintiff was not a party to the contract at issue), aff’d, 378 F. App’x
18   693 (9th Cir. 2010); see also Thomas v. Vision Por Cable De Mexico, 141 F.3d 1179, 1998 WL
19   88364, *1 (9th Cir. 1998) (unpublished) (“[The defendant] could not be liable for breach of con-
20   tract” because “he was not a party to that contract.”); Hoang v. Amazon.com, Inc., No. 11-1709-
21   MJP, 2013 WL 11319007, at *3 (W.D. Wash. Mar. 18, 2013) (“Plaintiff’s breach of contract claim
22   against Amazon.com fails because Amazon is not a party to the contract upon which Plaintiff’s
23   claim is based.”). 6
24

25   wife and her child in connection with the Probate Action. (See Dkt. No. 50-2 (attesting to Rimon, P.C.’s involvement
     in the Probate Action)).
26   6
       Plaintiffs apply Washington law for purposes of this motion, but the Court can (and should) defer deciding which
     state’s law applies. Where, as here, the choice-of-law analysis is fact-intensive and context-specific, the Court may
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 1            Here, while SGR seeks to hold the Estate liable for purportedly breaching the recording
 2   agreement between SGR and Universal (the “Universal Agreement”), it is unambiguous from the
 3   plain language of the Universal Agreement that the only parties to that agreement were (1) Uni-
 4   versal, and (2) SGR. Chris was not a party. (See Dkt. No. 166-1, Ex. A to SACC (referring to
 5   Universal and SGR as “both parties” in the introductory paragraph of the Universal Agreement)).
 6   Indeed, SGR admits as much in the SACC. (See SACC ¶ 154 (alleging that Universal and SGR
 7   are the parties to the Universal Agreement)).
 8            Although Chris signed an addendum (which SGR calls the “letter of inducement,” and is
 9   referenced herein as the “Letter”) confirming SGR’s right to enter into the Universal Agreement,
10   he did not agree in the Letter to be personally bound by the Universal Agreement. (Dkt. No. 166-
11   1 at pp. 8-9). To the contrary, the Letter merely provided that Chris (and the other individual mem-
12   bers of Soundgarden) would only become a party to the Universal Agreement upon SGR’s disso-
13   lution. (Id. at p. 9 (“[Chris Cornell] shall at [Universal’s] election be deemed substituted as a direct
14   party to the Agreement in place of [SGR]” only “if [SGR] shall be dissolved or otherwise cease to
15   exist or for any reason whatsoever should fail [sic] be unable neglect or refuse duly to perform or
16   observe each and all of the terms and conditions of the Agreement.” (emphasis added))). SGR, as
17   a purported party to this lawsuit, clearly did not dissolve or otherwise cease to exist. Thus, because
18   Chris has never been a party to the Universal Agreement in his personal capacity, his Estate cannot
19   be sued for breaching that agreement. See Lowden, 2009 WL 537787, at *1.
20            Hypothetical scenarios only underscore the futility of SGR’s claim. For example, even as-
21   suming SGR had dissolved or ceased to exist, only Universal (not SGR) has the option to deem
22   Chris substituted as a direct party to the Universal Agreement in place of SGR. And even assuming
23   SGR dissolved and Universal exercised that sole option to deem Chris and the Soundgarden
24

25   apply Washington law to resolve the pending motion to dismiss and defer final determination of which state’s law
     applies. See, e.g., In re MacBook Keyboard Litig., No. 5:18-cv-02813-EJD, 2019 WL 1765817, at *3 (N.D. Cal. Apr.
26   22, 2019) (reasoning that “[t]here is no bright-line requirement dictating when the court must determine which state’s
     laws apply,” and declining to decide the question on defendant’s motion to dismiss (citation omitted)).
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 1   Defendants substituted as direct parties, SGR would then no longer be a party to the Universal
 2   Agreement. In that scenario, SGR would lack standing to sue for breach of that agreement. Thus,
 3   no matter how SGR attempts to frame its claim, it fails as a matter of law: either SGR is a party to
 4   the Universal Agreement (and Chris is not), or Chris is a party to the Universal Agreement (and
 5   SGR is not). Either way, SGR has no standing to sue Chris’s Estate, and thus its claim for breach
 6   of contract fails as a matter of law.
 7            SGR’s allegations based on the Letter and a third-party beneficiary theory of liability fare
 8   no better. (See SACC ¶¶ 154-57). SGR claims that Chris Cornell “made various contractual com-
 9   mitments to Universal” through the Letter “to which SGR LLC was a third party beneficiary.” (Id.
10   ¶ 154). SGR further alleges that the Estate, which is bound by Chris’ “contractual commitments
11   in the letter of inducement,” breached that Letter by “claiming sole ownership over and refusing
12   to return the Album Files which embody Album Recordings intended for the ‘second LP’ governed
13   by the Universal Recording Agreement.” (Id. ¶¶ 156-57).
14            But, even assuming for purposes of this motion that the Letter constitutes a contract, SGR
15   fails to allege that the Estate breached the Letter. Unsurprisingly, there is not a single allegation
16   in the SACC linking the Estate’s claim of ownership over the Album File to a purported breach of
17   the Letter, which merely (1) confirms SGR’s right to enter into the Universal Agreement; (2) con-
18   firms and agrees with the terms of the Universal Agreement, and (3) agrees that Universal can, at
19   its sole option, substitute the individual Band members upon dissolution of SGR. (SACC ¶¶ 154-
20   57 & Ex. A); see Ackley v. Sec. Life Ins. Co. of Am., No. C13-432-RSM, 2014 WL 3767459, at *4
21   (W.D. Wash. July 31, 2014) (“[T]he Court concludes that the allegations of breach of contract . . .
22   are conclusory, unsubstantiated, and implausible given the contractual terms of the policy.”). The
23   plain language of the Letter simply cannot serve as a predicate for SGR’s strained breach of con-
24   tract claim. 7
25
     7
       Nor can the terms of the Letter be reasonably read to reflect that the parties’ intent was to directly benefit SGR. See
26   Hodge v. Westinghouse Hanford Co., 91 Wn. App. 1074 (1998) (“The creation of a third-party beneficiary contract
     requires that the parties intend that the promisor assume a direct obligation to a third party at the outset of the contract.
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 1            2.       Any of Chris Cornell’s Obligations Under the Universal Agreement
 2                     Terminated Upon Death.

 3            Even assuming that Chris was a party to the Universal Agreement (and he was not), “a
 4   contract for personal services terminates upon the death of the person required to perform those
 5   services unless there is a provision in the agreement to extend payments beyond his death.” Stark
 6   v. McCaw, 8 Wn. App. 378, 381, 506 P.2d 863 (1973) (citing Mendenhall v. Davis, 52 Wn. 169,
 7   100 P. 336 (1909) & Restatement of Contracts § 459 (1932)); see also 30 Williston on Contracts
 8   § 77:72 (4th ed.) (“Death cancels a personal services contract.”); Restatement (Second) of Con-
 9   tracts § 262 (1981) (“If the existence of a particular person is necessary for the performance of a
10   duty, his death or such incapacity as makes performance impracticable is an event the non-occur-
11   rence of which was a basic assumption on which the contract was made.”); cf. CNA Int’l Reinsur-
12   ance Co. v. Phoenix, 678 So. 2d 378, 380 (Fla. 1st DCA 1996) (discussing the “clear and unam-
13   biguous rule that death renders a personal services contract impossible to perform”).
14            Consequently, any obligations that Chris purportedly had in connection with the Universal
15   Agreement would have terminated upon his death in 2017. As a result, the Estate could properly
16   refuse to perform those purported obligations. See In re Murphy’s Est., 191 Wn. 180, 192, 71 P.2d
17   6 (1937) (explaining that executors and administrators are not bound by contractual obligations of
18   their decedents that are “personal in their nature and of which personal performance by the dece-
19   dent is of the essence”). Stated otherwise, there were no obligations for the Estate to breach, and
20   thus SGR’s contract counterclaim fails on its face. 8
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     In determining intent, the court is not required to examine the minds of the parties, rather it must look to the terms of
25   the contract.”). Again, any contractual obligations belonging to Chris under the Letter can only be triggered if SGR is
     removed from the equation.
26   8
       As discussed above, the condition precedent in the Letter triggering Chris’s obligations has not occurred. Accord-
     ingly, Chris had (and, by extension, the Estate has) no obligations under the Letter as a matter of law.
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 1          3.      Soundgarden Has Failed To Assert Any Cognizable Breach of The Live
 2                  Nation Merchandising Agreement By The Estate.

 3          Separate and apart from SGR’s contention that the Estate breached the Universal Agree-

 4   ment, Soundgarden asserts that the Estate breached Soundgarden’s merchandising agreement with

 5   Live Nation (the “Merchandising Agreement”) “by having [Ms. Cornell’s] representative at Patriot

 6   Management take the position with Live Nation that Live Nation ‘does not retain the rights to use

 7   Chris Cornell’s image or likeness in any future Nudedragons or Soundgarden merchandise’ and

 8   by insisting that certain products with Chris Cornell’s image be removed from the [Soundgarden]

 9   webstore.” (SACC ¶ 158).

10          But, like SGR’s contract claim against the Estate, Soundgarden’s claim simply recites por-

11   tions of the relevant agreement and asserts there was a breach without in any way connecting any

12   action by the Estate with that purported breach or damage caused by it. See Ackley, 2014 WL

13   3767459, at *4. Indeed, Soundgarden confusingly conflates (1) the issue of whether Live Nation

14   has a post-mortem right to exploit Chris’ name and likeness (which is a statutory, as opposed to a

15   contract, claim) with (2) the issue of whether any particular provision of the Merchandising Agree-

16   ment was violated. Does Soundgarden contend that Live Nation had the unfettered right to exploit

17   new uses of Chris’s name and likeness after his death, even if those uses were not approved by his

18   Estate? And if so, which provision in the Merchandising Agreement provided Live Nation with

19   this right? Soundgarden’s allegations are fatally uncertain in this regard, and thus its contract claim

20   is untenable as alleged.

21          Moreover, even assuming the SACC sufficiently alleges that the Estate somehow violated

22   a term of the Merchandising Agreement after Chris passed away, Soundgarden has failed to allege

23   that it suffered any damages as a result. See Karpenski v. Am. Gen. Life Cos., LLC, 999 F. Supp.

24   2d 1235, 1250 (W.D. Wash. 2014) (“The elements of a breach of contract claim are: (1) the exist-

25   ence of a valid contract, (2) breach of that contract, and (3) damages resulting from the breach.”

26   (emphasis added) (citation omitted)). Soundgarden contends that the Estate’s representative


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 1   insisted Live Nation remove certain images from Soundgarden’s website, but does not allege that
 2   (a) Live Nation did anything in response to the alleged communications, or (b) that Soundgarden
 3   was harmed as a result. (See SACC ¶¶ 104-105).
 4
     D.     The SACC Fails to State a Claim for Tortious Interference.
 5
            The elements of a claim for tortious interference with contract are: “(1) the existence of a
 6
     valid contractual relationship or business expectancy; (2) the defendant’s knowledge of and inten-
 7
     tional interference with that relationship or expectancy; (3) a breach or termination of that rela-
 8
     tionship or expectancy induced or caused by the interference; (4) an improper purpose or the use
 9
     of improper means by the defendant that caused the interference; and (5) resultant damage.”
10
     Leingang v. Pierce Cty. Med. Bureau, Inc., 131 Wn.2d 133, 157, 930 P.2d 288 (1997). “Asserting
11
     one’s rights to maximize economic interests does not create an inference of ill will or improper
12
     purpose.” Birkenwald Distrib. Co. v. Heublein, 55 Wn. App. 1, 12 (1989) (affirming dismissal of
13
     tortious interference claim on the pleadings where the plaintiff “failed to raise an inference of
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     improper purpose or wrongful means”). Here, SGR’s tortious interference claim fails because,
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     even accepting the SACC’s allegations as true, Ms. Cornell’s alleged conduct was taken to protect
16
     her own financial interests, nor is there a plausible inference of improper means or improper pur-
17
     pose. See id.
18
            1.       Efforts to Protect Personal Financial or Legally Protected Interests Are
19                   Privileged, and Thus SGR Cannot Hold Vicky Cornell Liable for
20                   Interference With the Universal Agreement.

21          Under Washington law, “[w]hen one acts to promote lawful economic interests, bad motive

22   is essential, and incidental interference will not suffice.” Birkenwald, 55 Wn. App. at 11; see also

23   Singer Credit Corp. v. Mercer Island Masonry, Inc., 13 Wn. App. 877, 884, 538 P.2d 544 (1975)

24   (describing good faith as a “privilege”). A defendant’s “financial interest standing alone [does] not

25   constitute an improper motive for purposes of an interference claim.” Nelson v. Glass & Assocs.,

26   Inc., 141 F. App’x 558, 560 (9th Cir. 2005). Rather, “Washington law is clear that a party ‘who in


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 1   good faith asserts a legally protected interest of his own which he believes may be impaired by the
 2   performance of a proposed transaction is not guilty of tortious interference.’” RRW Legacy Mgmt.
 3   Grp., Inc. v. Walker, No. C14-1544-MJP, 2015 WL 5883381, at *7 (W.D. Wash. Oct. 8, 2015),
 4   aff’d, 751 F. App’x 993 (9th Cir. 2018) (quoting Brown v. Safeway Stores, Inc., 94 Wn.2d 359,
 5   375, 617 P.2d 704 (1980)).
 6          Here, SGR has purported to sue Ms. Cornell, in her individual capacity, for “interfering”
 7   with the Universal Agreement. (SACC ¶¶ 157, 164). But because Ms. Cornell is the “widow of
 8   [Chris] Cornell” (Second Am. Answer, ¶ 11) and “inherited Cornell’s dissociated interest in the
 9   Partnership” (SACC ¶ 79), Ms. Cornell plainly has an economic interest in any “profits,” “good-
10   will,” or “business reputation” (see id. ¶ 168) that SGR could earn from that contract (as Ms.
11   Cornell would benefit financially from any album released under the Universal Agreement). That
12   benefit will manifest as “money advances for the first LP, advances for the second LP based on a
13   formula, and various royalty commitments,” as stated in Sections 4 and 5 of the Universal Agree-
14   ment. (Id. ¶ 24(h)).
15          Moreover, even assuming Ms. Cornell does not have a financial interest in the Universal
16   Agreement, she plainly has an economic interest in Chris’ unreleased vocal recordings. By recog-
17   nizing that Plaintiffs claim to be the sole and exclusive owners of the unreleased sound vocal
18   recordings (see id. ¶ 63(A)), SGR admits that Ms. Cornell was not acting in bad faith and that her
19   conduct was legally justified. Specifically, because Ms. Cornell’s alleged conduct was in further-
20   ance of her own “legally protected interest” to assert ownership of the vocal recordings, she could
21   not have been acting with the requisite malicious motive or bad faith necessary to support a tortious
22   interference claim. RRW, 2015 WL 5883381, at *7.
23          SGR tries to evade this legal doctrine by asserting that Ms. Cornell “has no individual
24   financial interest in [the Universal Agreement],” (SACC ¶ 166), but that allegation cannot save
25   SGR’s claim. Asserting that Ms. Cornell has no financial interest in the Universal Agreement is
26   not only unsupported by any factual averments, but is an impermissible inference based on the

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 1   allegations in the SACC, which make clear that Ms. Cornell is Chris’ surviving spouse and inher-
 2   ited his dissociated interest in the Soundgarden Partnership. (See id. ¶¶ 11, 79, 166); vPersonalize
 3   Inc. v. Magnetize Consultants Ltd., 437 F. Supp. 3d 860, 869 (W.D. Wash. 2020) (“The court . . .
 4   is not required ‘to accept as true allegations that are merely conclusory, unwarranted deductions
 5   of fact, or unreasonable inferences.’” (quoting Sprewell v. Golden State Warriors, 266 F.3d 979,
 6   988 (9th Cir. 2001))).
 7          Lastly, and relatedly, SGR fails to sufficiently allege the fourth element of its tortious in-
 8   terference claim: “an improper purpose or the use of improper means by the defendant that caused
 9   the interference.” Leingang, 131 Wn.2d at 157. SGR baldly alleges that Ms. Cornell’s “interfer-
10   ence was done both for an improper purpose and improper means.” (SACC ¶ 166). But that aver-
11   ment is wholly unsubstantiated, devoid of any actual support in the SACC, and should be rejected
12   as insufficient. See vPersonalize, 437 F. Supp. 3d at 869. Count IX, as alleged by SGR, fails as a
13   matter of law.
14
            2.        For the Same Reasons, Soundgarden’s Tortious Interference Claim Fails
15                    As a Matter of Law.

16          Soundgarden’s attempt to hold Ms. Cornell personally liable for purported interference

17   with the Merchandising Agreement likewise fails as a matter of law because Ms. Cornell has a

18   personal interest in that agreement as well. (See SACC ¶¶ 165, 167). Soundgarden asserts that

19   “Vicky Cornell has no privilege to interfere with the Merchandising Agreement because she has

20   no individual financial interest in that agreement, and her interference was done both for an im-

21   proper purpose and by improper means[.]” (Id. ¶ 167). But Soundgarden’s assertion overlooks that

22   Ms. Cornell, as Chris’ surviving spouse, obviously has a financial interest in the continued exploi-

23   tation of his post-mortem name and likeness rights. Consequently, by taking the alleged actions—

24   i.e. by seeking to prevent Live Nation from exploiting new uses of Chris’ name and likeness with-

25   out the Estate’s authorization—Ms. Cornell was clearly seeking to protect the Estate’s (and thus

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 1   her own) financial interests. Soundgarden’s tortious interference counterclaim fails as a matter of
 2   law alongside SGR’s counterclaim.
 3   E.     The Claims Should be Dismissed with Prejudice.
 4          “A district court may dismiss without leave [to amend] where . . . amendment would be
 5   futile.” Cervantes v. Countrywide Home Loans, Inc., 656 F.3d 1034, 1041 (9th Cir. 2011). Here,
 6   amendment would be futile because Soundgarden and/or SGR cannot allege any facts to:
 7   (1) avoid Section 733.710’s two-year bar for asserting claims against the Estate; (2) establish that
 8   Chris was a party to the Universal Agreement; (3) establish any connection between the Estate’s
 9   alleged conduct and the Letter; or (4) avoid the conclusion that Ms. Cornell’s alleged interfer-
10   ence was justified as a matter of law. Accordingly, the claims challenged in this motion should
11   be dismissed with prejudice. See id.
12                                            CONCLUSION
13          For the foregoing reasons, Plaintiffs respectfully request that the Court dismiss Counts
14   VIII and IX of the SACC in their entirety, as well as Counts II, III, IV, V, and VII to the extent
15   those claims are asserted by SGR against the Estate.
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